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                        1    HAEGGQUIST & ECK, LLP
                             ALREEN HAEGGQUIST (221858)
                        2
                              alreenh@haelaw.com
                        3    AARON M. OLSEN (259923)
                              aarono@haelaw.com
                        4
                             225 Broadway, Suite 2050
                        5    San Diego, CA 92101
                             Telephone: (619) 342-8000
                        6
                             Facsimile: (619) 342-7878
                        7
                             LAGUARDIA LAW
                        8
                             ERIC A. LAGUARDIA (272791)
                        9     eal@laguardialaw.com
                        10   402 West Broadway, Suite 800
                             San Diego, CA 92101
                        11   Telephone: (619) 655-4322
                        12   Facsimile: (619) 655-4344
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                        13   Attorneys for Plaintiff and the Proposed Class
                        14
                                                      UNITED STATES DISTRICT COURT
                        15
                                           FOR THE SOUTHERN DISTRICT OF CALIFORNIA
                        16
                             PHILLIP GARCIA, on Behalf of               Case No.:   '17CV1803 JM AGS
                        17   Himself and All Others Similarly
                        18   Situated,                                  CLASS ACTION

                        19               Plaintiff,                     CLASS ACTION COMPLAINT
                        20
                                   v.
                        21
                        22   SHOWTIME NETWORKS, INC., a
                             Delaware Corporation; WILLIAM
                        23   MORRIS ENDEAVOR
                        24   ENTERTAINMENT, LLC, a Delaware
                             Corporation; ZUFFA, LLC, a Nevada
                        25   Corporation; and DOES 1-10, Inclusive
                        26
                                         Defendants.
                        27                                              DEMAND FOR JURY TRIAL
                        28
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                        1          Plaintiff Phillip Garcia (“Plaintiff”), by and through his attorneys, brings this
                        2    action on behalf of himself and the Class1 against Showtime Networks, Inc.
                        3    (“Showtime”), William Morris Endeavor Entertainment, LLC d/b/a WME-IMG
                        4    (“WME”), and Zuffa, LLC d/b/a Ultimate Fighting Championship (“UFC”), a wholly
                        5    owned subsidiary of WME (collectively, “Defendants”). Plaintiff makes the
                        6    following allegations upon information and belief (except those allegations as to the
                        7    Plaintiff or his attorneys, which are based on personal knowledge), based upon an
                        8    investigation that is reasonable under the circumstances, which allegations are likely
                        9    to have evidentiary support after a reasonable opportunity for further investigation
                        10   and/or discovery.
                        11                                NATURE OF THE CASE
                        12         1.     On August 26, 2017, Showtime aired what it promoted as an
                        13   “unprecedented superfight” between boxing legend Floyd Mayweather and UFC
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                        14   superstar Conor McGregor in a 12-round boxing showdown at the T-Mobile Arena in
                        15   Las Vegas, Nevada. The superfight was the main event of a Showtime Pay-Per-View
                        16   (“PPV”) boxing card, which included three additional fights on the main card: (1)
                        17   Andrew Tabiti vs. Steve Cunningham (cruiserweight); (2) Badou Jack vs. Nathan
                        18   Cleverly (light heavyweight); and (3) Gervonta Davis vs. Francisco Fonseca (junior
                        19   lightweight) (collectively referred to as the “PPV Fight”).
                        20         2.     Showtime offered to millions of consumers an opportunity to “witness
                        21   history” by airing the PPV Fight for about $99.95 through (1) television cable and
                        22   satellite providers (the “Television”), or (2) through Apps such as UFC Fight Pass or
                        23   the Showtime App where consumers could watch the PPV Fight via the internet using
                        24   live online streaming (the “Live Stream”). This case involves the Live Stream which,
                        25   unfortunately, was defective and failed to conform to the promises and representations
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                        28   1
                                   The “Class” is defined in ¶34 below.
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                                                         CLASS ACTION COMPLAINT
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                        1    made by Defendants and was not fit for its intended purpose. Contrary to Defendants’
                        2    promises and representations, the Live Stream: (1) failed to stream the entire PPV
                        3    Fight for which Plaintiff and the Class purchased; (2) caused the main event fight to
                        4    be delayed by about 50 minutes; and (3) failed to have sufficient bandwidth which
                        5    resulted in, inter alia, system failures (hereinafter, the “Defect”).
                        6          3.     To redress the harms suffered, Plaintiff, on behalf of himself and the
                        7    Class, brings claims for: (1) violation of California’s Song-Beverly Consumer
                        8    Warranty Act (“Song-Beverly Act”), Civil Code §§1790, et seq. (Implied Warranty
                        9    of Merchantability); (2) violation of California’s Consumer Legal Remedies Act
                        10   (“CLRA”), Civil Code §§1750, et seq.; (3) Quasi-Contract (a/k/a Unjust Enrichment);
                        11   and (4) violation of California’s Unfair Competition Law (“UCL”), Business &
                        12   Professions Code §§17200, et seq.
                        13                                       THE PARTIES
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                        14                                         Defendants
                        15         4.     Defendant Showtime Networks, Inc. is a Delaware Corporation with its
                        16   principal place of business located at 51 West 52nd Street, New York, New York
                        17   10019. Showtime, a wholly-owned subsidiary of CBS Corporation, owns, operates,
                        18   markets, and distributes, among other things, sports and entertainment events for
                        19   exhibition to subscribers on a pay-per-view basis through SHOWTIME PPV.2
                        20   Showtime was the owner, operator, marketer, distributer, and seller of the Live Stream
                        21   of the PPV Fight. Based on information and belief, Showtime also contracted with
                        22   authorized agents to directly sell the PPV Fight to consumers, including Microsoft
                        23   Corporation (“Microsoft”), UFC, Apple, Inc., and many others.
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                                   http://www.sho.com/about (last visited August 31, 2017).
                                                                      2
                                                           CLASS ACTION COMPLAINT
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                        1          5.     Defendant William Morris Endeavor Entertainment, LLC d/b/a WME-
                        2    IMG is a Delaware Corporation with its principal place of business located at 9601
                        3    Wilshire Boulevard, Beverly Hills, California, 90210.
                        4          6.     Defendant Zuffa, LLC, a wholly owned subsidiary of WME, is a Nevada
                        5    Corporation with its principal place of business located at 2960 West Sahara Avenue,
                        6    Suite 100, Las Vegas, Nevada, 89102. Zuffa, LLC and WME do business under the
                        7    name of Ultimate Fighting Championship (“UFC”).
                        8          7.     WME and Zuffa, LLC, doing business as UFC, own, operate, market,
                        9    distribute, and sell a subscription-based internet streaming service called UFC.tv
                        10   (www.ufc.tv). UFC.tv consists of both a 24-hour linear streaming channel (UFC Fight
                        11   Pass) and pay-per-view programming from UFC’s library. Consumers can access
                        12   UFC.tv to watch events live online on virtually any device, including IOS and
                        13   Android devices, Xbox One, Xbox 360, AppleTV, Chromecast, Roku, Samsung, and
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                        14   LG Smart TVs. For example, in 2011, UFC on-demand-content was launched for the
                        15   Xbox, enabling those with a Microsoft Xbox to access on-demand content using
                        16   UFC.tv’s app to stream live video through an internet connection. Consumers, such
                        17   as Plaintiff who have a device such as the Xbox, could purchase the PPV Fight
                        18   through Microsoft (who owns Xbox and was an authorized agent of Showtime to sell
                        19   the PPV Fight) and watch the Live Stream of the PPV Fight using the UFC.tv app.
                        20   Based on information and belief, UFC contracted with Showtime and was one of
                        21   Showtime’s authorized retailers of the Live Stream of the PPV Fight. Based on
                        22   information and belief, UFC was also partnered with NeuLion as its streaming
                        23   partner.
                        24                                          Plaintiff
                        25         8.     Plaintiff is now, and at all relevant times was, a resident of San Diego,
                        26   California. Plaintiff brings this action in his individual capacity and on behalf of the
                        27   Class. As set forth below, Plaintiff purchased the Live Stream of the PPV Fight in San
                        28   Diego, California.
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                                                          CLASS ACTION COMPLAINT
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                        1          9.     Plaintiff is, and has been since he was a child, an avid boxing fan.
                        2    Growing up, he boxed at the infamous Gleason’s Gym in Brooklyn, New York.
                        3    Plaintiff watches boxing and mixed martial arts matches through online connections
                        4    on about a weekly basis. Plaintiff learned of the PPV Fight weeks in advance of the
                        5    August 26, 2017 official public announcement and became very excited.
                        6          10.    From Defendants’ marketing and advertising, Plaintiff learned not only
                        7    that Mayweather and McGregor would be fighting in the main event, but that fighters
                        8    such as Andrew Tabiti and Badou Jack would be fighting on the main card and for
                        9    title belts – fighters who Plaintiff was well-aware of. Plaintiff did not purchase the
                        10   PPV Fight to watch only the main event; he purchased it to be able to watch the entire
                        11   PPV Fight, including the other three fights on the main card, including the Tabiti vs.
                        12   Cunningham fight for a vacant cruiserweight title.
                        13         11.    Plaintiff was lured into and watched Showtime’s promotional video of
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                        14   the PPV Fight, along with the other online promotional materials advertising the PPV
                        15   Fight. The Live Stream was advertised as viewable in one simultaneous stream in
                        16   high definition (“HD”). Based on Defendants’ advertising and marketing, and
                        17   common sense, Plaintiff reasonably expected to be able to watch the entire PPV Fight,
                        18   continuously and without interruption in service, in HD via the Live Stream.
                        19         12.    It was because of the above-identified representations and expectations
                        20   that Plaintiff purchased Showtime’s Live Stream of the PPV Fight.
                        21         13.    All of Plaintiff’s equipment and software (e.g., Xbox One, Motorola
                        22   Surfboard modem, and ISP connection), met (and exceeded) all the minimum
                        23   technical requirements to be able to watch the Live Stream of the PPV Fight. Prior to,
                        24   during, and after the PPV Fight, Plaintiff’s equipment was up-to-date and was
                        25   otherwise fully functional without any problems or issues.
                        26         14.    A few hours before the 6:00 p.m. PST start time of the PPV Fight on
                        27   August 26, 2017, Plaintiff purchased the PPV Fight through Microsoft for $99.95,
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                                                         CLASS ACTION COMPLAINT
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                        1    plus $8.05 in tax, for a total payment of $108, which was supposed to enable Plaintiff
                        2    to watch the Live Stream of the PPV Fight through the UFC.tv app on his Xbox One.
                        3          15.    Plaintiff quickly learned that Defendants’ Live Stream was defective and
                        4    unable to stream the PPV Fight as promised. About 15 minutes before the 6:00 p.m.
                        5    PST start time, Plaintiff attempted to access the PPV Fight via the Live Stream, but
                        6    due to Defendants’ defective system (see ¶¶23-29, below), Plaintiff was not able to
                        7    access the PPV Fight. Plaintiff attempted to contact UFC’s customer support via its
                        8    online “live help” chat, which was where he was directed for technical issues during
                        9    live events, but the chat link did not (and still does not) work.
                        10         16.    Plaintiff continued to repeatedly try to access the PPV Fight via Live
                        11   Stream, but he was unable to access it because of Defendants’ defective system until
                        12   after the 6:00 p.m. PST start time and after several rounds of the Tabiti fight were
                        13   already over. The Live Stream continued to suffer system failures, and Plaintiff’s Live
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                        14   Stream froze and then resumed during the PPV Fight. In addition, due to Defendants’
                        15   defective system, the main event between Mayweather and McGregor was delayed
                        16   by about 50 minutes, causing a material disruption in Plaintiff’s planned evening
                        17   schedule.
                        18         17.    Had Plaintiff known of Defendants’ defective system causing the Defect,
                        19   Plaintiff would not have purchased the Live Stream of the PPV Fight. Accordingly,
                        20   Plaintiff reasonably seeks restitution of the money he paid for the defective Live
                        21   Stream product.
                        22                              JURISDICTION AND VENUE
                        23         18.    The Court has jurisdiction over the lawsuit under 28 U.S.C. §1332(a)(1)
                        24   because Plaintiff and Defendants are citizens of different states and the amount in
                        25   controversy exceeds $75,000, excluding interest and costs. The Court also has
                        26   jurisdiction under the Class Action Fairness Act of 2005, 28 U.S.C. §1332(d)(2),
                        27   because the suit is a class action, the parties are minimally diverse, and the amount in
                        28   controversy exceeds $5,000,000, excluding interest and costs. The Court has
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                                                          CLASS ACTION COMPLAINT
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                        1    supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C.
                        2    §1367(a).
                        3          19.    This Court has personal jurisdiction over Defendants because they do a
                        4    substantial amount of business in California, including in this District; are authorized
                        5    to conduct business in California, including in this District; and have intentionally
                        6    availed themselves of the laws and markets of this District through the promotion,
                        7    sale, marketing, and/or distribution of their products and services.
                        8          20.    Venue is proper in this district under 28 U.S.C. §1391(a)(1) and (a)(2)
                        9    because a substantial part of the events or omissions giving rise to this claim occurred
                        10   in this district. Venue is also proper under 18 U.S.C. §1965(a), because Defendants
                        11   transact a substantial amount of its business in this District.
                        12                               FACTUAL BACKGROUND
                        13         21.    Prior to the PPV Fight, virtually every major reporting agency was
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                        14   predicting record-setting audience viewing for the PPV Fight, claims that appear to
                        15   have come true. Sources are reporting that UFC’s President, Dana White, reported
                        16   that the PPV Fight obtained a record 6.5 million PPV buys, likely bringing in more
                        17   than $650 million in PPV business.
                        18         22.    This turnout was expected by Defendants. The PPV Fight was marketed
                        19   as the biggest fight in boxing history. It has been publicly reported that Mayweather
                        20   participated in the three biggest PPV fights in history prior to the PPV Fight: (1) 2015
                        21   Pacquiao fight (4.6 million PPV buys); (2) 2007 Oscar De La Hoya fight (2.4 million
                        22   buys); and (3) 2013 Alvarez fight (2.2 million buys). McGregor, on the other hand, is
                        23   the biggest drawer of PPV buys for the UFC (mixed martial arts fighting) in recent
                        24   history: (1) second fight against Nate Diaz (1.65 million buys); (2) first fight against
                        25   Diaz (1.5 million buys); and (3) Alvarez fight (1.3 million buys). In other words,
                        26   Defendants knew, and expected, for the PPV buys, including for the Live Stream of
                        27   the PPV Fight, to be record setting in the many millions. Based on prior history,
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                        1    Defendants also knew that many of these PPV buys are not made until soon before
                        2    the fight.
                        3           23.   Unfortunately, despite knowing many millions of consumers would be
                        4    purchasing and watching the PPV Fight via Live Stream commencing around 6:00
                        5    p.m. PST on August 26, 2017, Defendants knowingly did not have a system that could
                        6    handle the expected internet traffic resulting from the Live Stream of the PPV Fight.
                        7           24.   Based on information and belief, Defendants knowingly did not secure
                        8    sufficient networking bandwidth to support the substantial number of subscribers who
                        9    paid to watch the PPV Fight via Live Stream. Bandwidth governs access to the
                        10   internet, the speed of that data, images, and video that can be uploaded and
                        11   downloaded, and where usage will be problematic. Defendants knew their system
                        12   could not conform to the representations made about its product, based on, inter alia,
                        13   Defendants’ available bandwidth and anticipated and known subscriber numbers.
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                        14          25.   As a result, reports from hundreds of consumers immediately started to
                        15   appear in online forums, such as Twitter, around the 6:00 p.m. PST start time,
                        16   complaining about receiving error messages and an inability to login to the Live
                        17   Stream of the PPV Fight. Even though consumers were using different devices and
                        18   apps to access the Live Stream of the PPV Fight, they faced the same problem – the
                        19   inability to access the PPV Fight. Due to the defective system, Showtime was forced
                        20   to delay the start of the main event and publicly acknowledge the problem:
                        21          Due to high demand, we have reports of scattered outages from various
                                    cable and satellite provides [sic] and the online offering. We will delay
                        22
                                    the start of the main event slightly to allow for systems to get on track.
                        23          We do not expect a lengthy delay.
                        24          26.   Public reporting since the PPV Fight have credited the delay due to
                        25   bandwidth issues, including servers having crashed due to the amount of traffic
                        26   volume.
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                                                          CLASS ACTION COMPLAINT
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                        1          27.    The UFC also publicly acknowledged the defective system on Twitter:
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                        9          28.    As the problem persisted, the UFC ultimately advised its customers to
                        10   “find an alternate provider”:
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                        20         29.    Due to the defective system, including Defendants’ knowing failure to
                        21   secure sufficient networking bandwidth, consumers continued to receive error
                        22   messages and get dropped from the Live Stream at intermittent times throughout the
                        23   PPV Fight. The usage was not seamless and the speed of the data was slowed and
                        24   even stopped at certain points. Despite knowing its system was defective and unable
                        25   to handle the expected and known volume of traffic, Defendants failed to inform
                        26   Plaintiff and the Class of the same because Defendants knew the PPV Fight was going
                        27   to be the most lucrative PPV event in history. Indeed, reports are estimating revenue
                        28   of the PPV Fight to be between $650 million to $1 billion.
                                                                       8
                                                             CLASS ACTION COMPLAINT
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                        1          30.    Admitting its system was defective, Showtime has since offered full
                        2    refunds to customers, but only those who “purchased the event directly from
                        3    Showtime and were unable to receive the telecast.” In other words, Showtime is
                        4    offering refunds for customers who purchased the PPV Fight through Showtime’s
                        5    own direct-to-consumer services. However, if a customer, such as Plaintiff, purchased
                        6    the PPV Fight through one of Showtime’s authorized sellers, such as Microsoft, UFC,
                        7    et al., Showtime is refusing to offer refunds.
                        8          31.    All consumers who purchased the defective Live Stream of the PPV
                        9    Fight should be issued refunds. Hence, Plaintiff brings this class action to seek to
                        10   remedy the wrong, and not allow Defendants to be unjustly enriched.
                        11                            CLASS ACTION ALLEGATIONS
                        12         32.    Plaintiff realleges and incorporates herein by reference each allegation
                        13   in the preceding and subsequent paragraphs.
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                        14         33.    Plaintiff brings this action on behalf of himself individually and other
                        15   similarly situated persons as a class action pursuant to Federal Rule of Civil Procedure
                        16   23.
                        17         34.    Plaintiff seeks to represent the following class:
                        18         All consumers who purchased the Live Stream of the PPV Fight in
                                   California, and who did not receive a refund (the “Class”).
                        19
                        20         35.    Excluded from The Class are Defendants, their officers and directors,
                        21   families, legal representatives, heirs, successors or assigns, any entity in which
                        22   Defendants have a controlling interest, and any Judge assigned to this case, and their
                        23   immediate families.
                        24         36.    Plaintiff reserves the right to amend or modify the class definition in
                        25   connection with his motion for class certification, as a result of discovery, at trial, or
                        26   as otherwise allowed by law.
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                                                           CLASS ACTION COMPLAINT
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                        1          37.    Plaintiff brings this action on behalf of himself and all others similarly-
                        2    situated because there is a well-defined community of interest in the litigation and the
                        3    proposed sub-classes are easily ascertainable.
                        4                                         Numerosity
                        5          38.    The potential members of the Class are so numerous, joinder of all the
                        6    members is impracticable. While the precise number of members of the Class has not
                        7    been determined, Plaintiff is informed and believes the Class consists of thousands of
                        8    consumers.
                        9          39.    Based on information and belief, Defendants’ sales records and data
                        10   evidence the exact number and location of the Class respectively.
                        11                            Commonality and Predominance
                        12
                                   40.    There are questions of law and fact common to the Class that
                        13
                             predominate over any questions affecting only individual class members. These
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                        14
                             common questions of law and fact include, without limitation:
                        15
                                          (a)   Whether Defendants made uniform representations about the
                        16
                             characteristics, benefits, uses, standards, quality, and/or grade of the Live Stream of
                        17
                             the PPV Fight;
                        18
                                          (b)   Whether Plaintiff and the Class purchased a product and/or
                        19
                             service, namely the Live Stream of the PPV Fight, that was defective and/or failed to
                        20
                             conform to the representations made by Defendants;
                        21
                                          (c)   Whether the Live Stream Defect would be considered material by
                        22
                             a reasonable consumer;
                        23
                                          (d)   Whether Defendants had a duty to disclose the fact of its defective
                        24
                             system causing the Defect;
                        25
                                          (e)   Whether Defendants violated the CLRA;
                        26
                                          (f)   Whether Defendants violated the UCL;
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                        1                 (g)     Whether Defendants breached the implied warranty of
                        2    merchantability;
                        3                 (h)     Whether Defendants were unjustly enriched through their
                        4    wrongful acts; and
                        5                 (i)     Whether Plaintiff and the Class have been harmed and the proper
                        6    measure of relief.
                        7                                          Typicality
                        8          41.    The claims of Plaintiff are typical of the claims of the Class. Plaintiff and
                        9    all members of the Class sustained injuries and damages arising out of and caused by
                        10   Defendants’ common course of conduct in violation of laws and statutes as alleged
                        11   herein.
                        12                               Adequacy of Representation
                        13
                                   42.    Plaintiff will fairly and adequately represent and protect the interest of
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                        14
                             the Class. Counsel who represents Plaintiff are competent and experienced in
                        15
                             litigating large consumer class actions.
                        16
                                                          Superiority of Class Action
                        17
                                   43.    A class action is superior to other available means for the fair and
                        18
                             efficient adjudication of this controversy. Individual joinder of the Class is not
                        19
                             practicable, and questions of law and fact common to the Class predominate over any
                        20
                             questions affecting only individual members of the Class. Each member of the Class
                        21
                             has been damaged and is entitled to recovery because of Defendants’ uniform
                        22
                             unlawful practices described herein. There are no individualized factual or legal issues
                        23
                             for the court to resolve that would prevent this case from proceeding as a class action.
                        24
                             Class action treatment will allow those similarly situated persons to litigate their
                        25
                             claims in the manner that is most efficient and economical for the parties and the
                        26
                             judicial system. Plaintiff is unaware of any difficulties that are likely to be
                        27
                        28
                                                                        11
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                        1    encountered in the management of this action that would preclude its maintenance as
                        2    a class action.
                        3                                           COUNT I
                        4
                                               Violation of California’s Song-Beverly Consumer
                        5                          Warranty Act, Civil Code §§1790, et seq.
                                                    (Implied Warranty of Merchantability)
                        6
                        7          44.    Plaintiff hereby alleges and incorporates by reference the allegations
                        8    contained in the paragraphs above as if fully set forth herein.
                        9          45.    In California, “every sale of consumer goods that are sold at retail in this
                        10   state shall be accompanied by the manufacturer’s and the retail seller’s implied
                        11   warranty that the goods are merchantable.” Civil Code §1792. “The retail seller shall
                        12   have a right of indemnity against the manufacturer in the amount of any liability under
                        13   this section.” Id. “Any buyer of consumer goods who is damaged by a failure to
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                        14   comply with any obligation under [the Song-Beverly Act] or under an implied or
                        15   express warranty or service contract may bring an action for the recovery of damages
                        16   and other legal and equitable relief.” Civil Code §1794(a).
                        17         46.    “Implied warranty of merchantability” means that the consumer goods
                        18   meet all the following: (1) pass without objection in the trade under the contract
                        19   description; (2) are fit for the ordinary purposes for which such goods are used; (3)
                        20   are adequately contained, packaged, and labeled; and (4) conform to the promises or
                        21   affirmations of fact made on the container or label. Civil Code §1791.1(a)(1)-(4).
                        22         47.    Here, all the elements for a claim for breach of implied warranty of
                        23   merchantability are satisfied: (1) Plaintiff (and the Class) was a “retail buyer” (2) of
                        24   “consumer goods” (Live Stream of the PPV Fight) (3) purchased from a “retail seller,”
                        25   and (4) the consumer goods purchased were not merchantable.
                        26         48.    Specifically, Plaintiff is, and at all relevant times was, a “buyer” or “retail
                        27   buyer” within the meaning of the Song-Beverly Act, Civil Code §1791(b), because
                        28   he is an individual who bought a consumer good (the Live Stream of the PPV Fight)
                                                                         12
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                        1    from a person (Microsoft) engaged in the business of manufacturing, distributing, or
                        2    selling consumer goods at retail. Plaintiff bought the Live Stream from Microsoft,
                        3    who was Showtime’s authorized retail seller. Based on information and belief,
                        4    Mircrosoft also has a contract(s) with UFC, and it was authorized to sell the PPV
                        5    Fight to be viewed via Live Stream using UFC’s app.
                        6          49.    Microsoft is, and at all relevant times was, a “retail seller,” “seller,” and
                        7    “retailer,” within the meaning of the Song-Beverly Act, Civil Code §1791(l) because
                        8    it is a corporation that engages in the business of selling consumer goods to retail
                        9    buyers. As Showtime’s authorized retail seller, Microsoft distributed and sold the
                        10   Live Stream of the PPV Fight to buyers. Microsoft also sells numerous other
                        11   consumer goods to buyers, such as Xbox entertainment systems, laptop computers,
                        12   software, and other products.
                        13         50.    Showtime is, and at all relevant times was, a “retail seller,” “seller,” and
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                        14   “retailer,” within the meaning of the Song-Beverly Act, Civil Code §1791(l) because
                        15   it is a corporation that engages in the business of selling consumer goods to retail
                        16   buyers. Showtime not only sold the Live Stream of the PPV Fight indirectly to buyers
                        17   such as Plaintiff through its authorized retail sellers, but it also sold the Live Stream
                        18   of the PPV Fight directly to buyers. Showtime also sells other consumer goods to
                        19   buyers, such as cable and satellite television network programs, On Demand
                        20   television programs, and other video content products.
                        21         51.    UFC is, and at all relevant times was, a “retail seller,” “seller,” and
                        22   “retailer,” within the meaning of the Song-Beverly Act, Civil Code §1791(l) because
                        23   it is a corporation that engages in the business of selling consumer goods to retail
                        24   buyers. As Showtime’s authorized retail seller, UFC distributed and directly sold the
                        25   Live Stream of the PPV Fight to buyers. UFC also sells other consumer goods to
                        26   buyers, such as on-demand video of pre-recorded content and live online streaming
                        27   of video content, among other goods.
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                        1          52.    Based on information and belief, Showtime is, and at all relevant times
                        2    was, a “manufacturer” within the meaning of the Song-Beverly Act, Civil Code
                        3    §1791(j) because it is a corporation that manufactures, assembles, or produces
                        4    consumer goods, including the Live Stream of the PPV Fight.
                        5          53.    Based on information and belief, Microsoft is, and at all relevant times
                        6    was, a “manufacturer” within the meaning of the Song-Beverly Act, Civil Code
                        7    §1791(j) because it is a corporation that manufactures, assembles, or produces
                        8    consumer goods.
                        9          54.    Based on information and belief, UFC is, and at all relevant times was,
                        10   a “manufacturer” within the meaning of the Song-Beverly Act, Civil Code §1791(j)
                        11   because it is a corporation that manufactures, assembles, or produces consumer goods.
                        12         55.    The Live Stream of the PPV Fight purchased from Microsoft by Plaintiff
                        13   in San Diego, California, is a “consumer good” within the meaning of the Song-
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                        14   Beverly Act, Civil Code §1791(a) because it was a new product bought by Plaintiff
                        15   for use primarily for personal, family, and household purposes, and it is not clothing
                        16   or a consumable.
                        17         56.    The Song-Beverly Act does not require “privity” between Plaintiff and
                        18   Showtime or the UFC to assert an implied warranty claim. Sater v. Chrysler Group
                        19   LLC, Case No. EDCV 14-00700-VAP (DTBx), 2015 U.S. Dist. LEXIS 21022, *20-
                        20   21 (C.D. Cal. Feb. 20, 2015) (“The SBA does not require privity to assert an implied
                        21   warranty claim (either for merchantability or fitness).”); Ehrlich v. BMW of N. Am.,
                        22   LLC, 801 F. Supp. 2d 908, 921 (C.D. Cal. Aug. 11, 2010) (same) (listing cases).
                        23   Moreover, Microsoft contracted with Showtime and UFC to be an authorized retail
                        24   seller of the Live Stream and Plaintiff is a third-party beneficiary of those agreements.
                        25   Accordingly, even if privity was required, which it is not under the Song-Beverly Act
                        26   by the plain language of the statute, Plaintiff’s transaction in purchasing the Live
                        27   Stream is a well-established exception to the privity requirement. Id.
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                        1          57.    Defendants warranted that the Live Stream of the PPV Fight were of
                        2    merchantable quality and fit for the ordinary purposes for which the product is used.
                        3          58.    Defendants breached the implied warranty of merchantability because
                        4    the Live Stream of the PPV Fight purchased by Plaintiff and the Class was not
                        5    merchantable because it was not fit for the ordinary purposes for which such goods
                        6    are used (Civil Code §1791.1(a)(2)), and it did not conform to the promises or
                        7    affirmations of fact made by Defendants (Civil Code §1791.1(a)(4)). As stated above,
                        8    the Live Stream of the PPV Fight was defective and suffered from material system
                        9    failures which resulted in the Defect. The product did not perform as reasonably
                        10   expected and was not of the quality that would be reasonably expected for online live
                        11   streaming content for an event of this magnitude. Because the product at issue enabled
                        12   the viewing of a “live” event, the Defect was material because the “live” experience
                        13   cannot be re-duplicated – once it is over, it is over, and the Defect stripped users of
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                        14   this once in a lifetime experience to see history in the making in real-time.
                        15         59.    Because of Defendants’ conduct, Plaintiff and the Class have suffered
                        16   injury and damages in an amount to be determined at trial. Plaintiff and the Class are
                        17   entitled to recover damages and other legal and equitable relief. Civil Code §1794(a).
                        18         60.    Plaintiff is also entitled to recover costs and expenses, including
                        19   attorneys’ fees pursuant to Civil Code §1794(d), and any other applicable provision
                        20   for attorneys’ fees and costs.
                        21                                         COUNT II
                        22
                                           Violation of the California Consumer Legal Remedies
                        23                             Act, Civil Code §§1750, et seq.
                        24         61.    Plaintiff hereby alleges and incorporates by reference the allegations
                        25   contained in the paragraphs above as if fully set forth herein.
                        26         62.    This cause of action arises under the CLRA, Civil Code §§1750, et seq.
                        27   Plaintiff and the Class are consumers as defined by Civil Code §1761(d). The Live
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                        1    Stream of the PPV Fight constitute “goods” and/or “services” as defined by Civil
                        2    Code §§1761(a) and (b). Defendants constituted “persons” under Civil Code
                        3    §1761(c), and Plaintiff and the Class purchases of the Live Stream of the PPV Fight
                        4    constitute “transactions,” as defined in Civil Code §1761(e).
                        5          63.    Defendants violated the CLRA by engaging in the following deceptive
                        6    practices proscribed by Civil Code §1770(a), in transactions with Plaintiff and the
                        7    Class, that were intended to result and which resulted in the sale of goods and/or
                        8    services to a consumer:
                        9                 (a)    In violation of Civil Code §1770(a)(5), Defendants’ acts and
                        10   practices constitute material misrepresentations that the Live Stream of the PPV Fight
                        11   in question have characteristics, benefits, or uses which they did not have;
                        12                (b)    In    violation   of   Civil   Code     §1770(a)(7),     Defendants
                        13   misrepresented that the Live Stream of the PPV Fight was of a particular standard,
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                        14   quality and/or grade, when it was of another;
                        15                (c)    In violation of Civil Code §§1770(a)(5) and (a)(7), Defendants
                        16   omitted and/or failed to disclose to Plaintiff and the Class material facts that were
                        17   contrary to representations made by Defendants about the characteristics, benefits,
                        18   uses, standard, quality, and/or grade of the Live Stream of the PPV Fight; and
                        19                (d)    In violation of Civil Code §1770(a)(9), Defendants advertised the
                        20   Live Stream of the PPV Fight with the intent not to sell it as advertised or represented.
                        21         64.    Defendants had exclusive knowledge of its defective system causing the
                        22   Defect and failed to disclose such to Plaintiff and the Class.
                        23         65.    Because of Defendants’ unlawful conduct, Plaintiff and the Class have
                        24   suffered injury and damage in an amount to be determined at trial.
                        25         66.    Pursuant to Civil Code §1782, on September 6, 2017 Plaintiff notified
                        26   Defendants in writing by certified mail of the violations of Civil Code §1770, and
                        27   have demanded that Defendants remedy the violations as detailed herein and to give
                        28   notice to all affected consumers of its intent to so act. Plaintiff sent this notice by
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                        1    certified mail, return receipt requested, to each of Defendants’ principal place of
                        2    business.
                        3          67.    If Defendants fail to remedy the violations or give notice to all affected
                        4    consumers within 30 days after receipt of the Civil Code §1782 notice, Plaintiff will
                        5    seek to amend this Complaint and seek actual damages and punitive damages for
                        6    violations of the CLRA.
                        7          68.    Pursuant to Civil Code §1780(a)(2), Plaintiff seeks equitable and
                        8    injunctive relief because of the violations of the CLRA.
                        9          69.    Plaintiff and the Class are also entitled to recover attorneys’ fees, costs,
                        10   expenses, and disbursements pursuant to Civil Code §§1780 and 1781.
                        11                                        COUNT III
                        12
                                                    Quasi-Contract (Unjust Enrichment)
                        13                                 Seeking Restitution
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                        14         70.    Plaintiff hereby alleges and incorporates by reference the allegations
                        15   contained in the paragraphs above as if fully set forth herein.
                        16         71.    Where a defendant has been unjustly conferred a benefit “through
                        17   mistake, fraud, coercion, or request” the return of that benefit is a remedy sought in
                        18   “a quasi-contract cause of action.” Astiana v. Hain Celestial Grp., Inc., 783 F.3d 753,
                        19   762 (9th Cir. 2015). When a plaintiff alleges “unjust enrichment, a court may
                        20   ‘construe the cause of action as a quasi-contract claim seeking restitution.” Id.
                        21         72.    Plaintiff and the Class conferred a benefit on Defendants, namely,
                        22   money, because of Defendant’s representations and implied warranty that it would
                        23   provide Plaintiff and the Class with a fully functioning Live Stream of the PPV Fight.
                        24   Defendants accepted the benefit of money from Plaintiff and the Class and it would
                        25   be unfair for Defendants to retain the benefit because the goods were not merchantable
                        26   because they were not fit for the ordinary purposes for which such goods are used and
                        27   did not otherwise conform as promised and expected.
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                        1          73.    Because of Defendants’ unlawful conduct, Plaintiff and the Class have
                        2    suffered injury and, thus, they are entitled to restitution of the money they conferred
                        3    on Defendants.
                        4                                         COUNT IV
                        5
                                              Violation of California’s Unfair Competition Law,
                        6                       Business & Professions Code §§17200, et seq.
                        7          74.    Plaintiff hereby alleges and incorporates by reference the allegations
                        8    contained in the paragraphs above as if fully set forth herein.
                        9          75.    California Business & Professions Code §17200 prohibits acts of unfair
                        10   competition, which means and includes any “unlawful, unfair or fraudulent business
                        11   act or practice” and any act prohibited by California Business & Professions Code
                        12   §17500.
                        13         76.    Defendants engaged in unlawful activity prohibited by Business &
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                        14   Professions Code §§17200, et seq. The actions of Defendants as alleged within this
                        15   Complaint constitute unlawful and unfair business practices with the meaning of
                        16   Business & Professions Code §§17200, et seq.
                        17         77.    Defendants have conducted the following unlawful activities:
                        18                (a)    Violation of the Song-Beverly Act, Civil Code §§1790, et seq., by
                        19   breaching the implied warranty of merchantability;
                        20                (b)    Violation of the CLRA, Civil Code §§1750, et seq. by engaging
                        21   in deceptive practices proscribed by Civil Code §1770; and
                        22                (c)    Unjust enrichment, by unfairly taking Plaintiff’s and the Class’
                        23   money without conferring a promised benefit.
                        24         78.    Defendants’ activities also constitute unfair practices in violation of
                        25   Business & Professions Code §§17200, et seq., because Defendants’ practices violate
                        26   the above noted laws, and/or violate an established public policy, and/or the practice
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                        1    is immoral, unethical, oppressive, unscrupulous, and substantially injurious to
                        2    Plaintiff and the Class.
                        3           79.    Defendants’ also violated the UCL’s prohibition against fraudulent
                        4    business acts or practices through their misrepresentations regarding the Live Stream
                        5    of the PPV Fight that had a tendency to mislead the public and with intent to induce
                        6    reliance of Plaintiff and the Class.
                        7           80.    Because of Defendants’ violations of the noted laws, Plaintiff and the
                        8    Class have suffered injury-in-fact and have lost money or property because of
                        9    Defendants’ practices. The injury includes the money Plaintiff and the Class paid for
                        10   the Live Stream of the PPV Fight. Plaintiff and the Class are entitled to restitution, an
                        11   injunction, declaratory, and other equitable relief against such unlawful practices to
                        12   prevent future damage for which there is no adequate remedy at law.
                        13          81.    Plaintiff is also entitled to and hereby claims attorneys’ fees and costs,
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                        14   pursuant to the private attorney general theory doctrine (Code of Civil Procedure
                        15   §1021.5), and any other applicable provision for attorney fees and costs, based upon
                        16   the violation of the underlying public policies.
                        17                                  PRAYER FOR RELIEF
                        18          WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for
                        19   judgment against Defendants as follows:
                        20                 A.    That the Court determine that this action may be maintained as a
                        21   class action with the named Plaintiff appointed as The Class Representative;
                        22                 B.    For the attorneys appearing on the above-caption to be named
                        23   Class counsel;
                        24                 C.    For nominal, actual, and compensatory damages, according to
                        25   proof at trial;
                        26                 D.    For restitution of all monies, expenses, and costs due to Plaintiff
                        27   and the Class;
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                        1                  E.    For disgorged profits from the unlawful and unfair business
                        2    practices in violation of Business & Professions Code §§17200, et seq.;
                        3                  F.    For reasonable attorneys’ fees, expenses, costs, and interest
                        4    pursuant to Civil Code §§1780, 1781, and 1794, Code of Civil Procedure §1021.5,
                        5    and as otherwise allowed by law;
                        6                  G.    For equitable relief pursuant to Business & Prof Code §§17200, et
                        7    seq., and as otherwise allowed by law;
                        8                  H.    For declaratory relief as deemed proper;
                        9                  I.    For pre-judgment and post-judgment interest to the extent
                        10   allowable by law; and
                        11                 J.    For such other and further relief as the Court deems just and
                        12   proper.
                        13                              DEMAND FOR JURY TRIAL
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                        14          Plaintiff, on behalf of himself and the Class, demand trial by jury on all issues
                        15   so triable.
                        16   Dated: September 6, 2017                 HAEGGQUIST & ECK, LLP
                                                                      ALREEN HAEGGQUIST (221858)
                        17
                                                                      AARON M. OLSEN (259923)
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                        19
                                                                      By:
                        20                                                        AARON M. OLSEN
                        21
                                                                      225 Broadway, Suite 2050
                        22                                            San Diego, CA 92101
                        23                                            Telephone: (619) 342-8000
                                                                      Facsimile: (619) 342-7878
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                        1                                       LAGUARDIA LAW
                                                                ERIC A. LAGUDIA (272791)
                        2
                                                                402 W. Broadway, Suite 800
                        3                                       San Diego, CA 92101
                                                                Telephone: (619) 655-4322
                        4
                                                                Facsimile: (619) 655-4344
                        5
                        6                                       Attorneys for Plaintiff and the Proposed
                                                                Class
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                        1                 Affidavit of Aaron M. Olsen re Venue for CLRA Count
                        2          I, Aaron M. Olsen, am an attorney admitted to practice before this Court and I
                        3    am counsel of record for Plaintiff in the above-captioned matter. I make this affidavit
                        4    pursuant to California Civil Code §1780(d). Venue is proper in this District because
                        5    it is within the county where Plaintiff’s transaction at issued in this Complaint
                        6    occurred. I declare under penalty of perjury under the laws of the United States of
                        7    America the above is true and correct and of my own personal knowledge.
                        8
                        9    Dated:      September 6, 2017
                                                                                 AARON M. OLSEN
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